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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )             8:06CR119
                                          )
       vs.                                )              ORDER
                                          )
LEONEL GARCIA-PADILLA,                    )
                                          )
              Defendant.                  )


       Before the court is Filing No. 128, the defendant's Motion to Compel Requested

Transcripts. The court has reviewed the matter and notes that no transcript of the

sentencing hearing has ever been prepared and, therefore, cannot be produced.

Arrangements to obtain a copy of the transcript must be made with the court reporter, Allan

Kuhlman, Suite 3122, 111 So. 18 th Plaza, Omaha, NE 68102. Accordingly,

       IT IS ORDERED that defendant's Motion to Compel Requested Transcripts is

denied.

       DATED this 15th day of April, 2008.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          Chief District Court Judge
